Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 1 of 15 Page ID
                                  #:855




                                  USA - 180



                                                                 EXHIBIT 13
                                                                          1
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 2 of 15 Page ID
                                  #:856




                                  USA - 181



                                                                 EXHIBIT 13
                                                                          2
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 3 of 15 Page ID
                                  #:857




                                  USA - 182



                                                                 EXHIBIT 13
                                                                          3
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 4 of 15 Page ID
                                  #:858




                                  USA - 183



                                                                 EXHIBIT 13
                                                                          4
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 5 of 15 Page ID
                                  #:859




                                  USA - 184



                                                                 EXHIBIT 13
                                                                          5
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 6 of 15 Page ID
                                  #:860




                                  USA - 185



                                                                 EXHIBIT 13
                                                                          6
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 7 of 15 Page ID
                                  #:861




                                  USA - 186



                                                                 EXHIBIT 13
                                                                          7
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 8 of 15 Page ID
                                  #:862




                                  USA - 187



                                                                 EXHIBIT 13
                                                                          8
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 9 of 15 Page ID
                                  #:863




                                  USA - 188



                                                                 EXHIBIT 13
                                                                          9
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 10 of 15 Page ID
                                   #:864




                                   USA - 189



                                                                  EXHIBIT 13
                                                                          10
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 11 of 15 Page ID
                                   #:865




                                   USA - 190



                                                                  EXHIBIT 13
                                                                          11
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 12 of 15 Page ID
                                   #:866




                                   USA - 191



                                                                  EXHIBIT 13
                                                                          12
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 13 of 15 Page ID
                                   #:867




                                   USA - 192



                                                                  EXHIBIT 13
                                                                          13
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 14 of 15 Page ID
                                   #:868




                                   USA - 193



                                                                  EXHIBIT 13
                                                                          14
Case 2:12-cv-01467-GAF-FFM Document 39-13 Filed 06/22/13 Page 15 of 15 Page ID
                                   #:869




                                   USA - 194



                                                                  EXHIBIT 13
                                                                          15
